                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


BODUM USA INC., and PI-DESIGN AG,

               Plaintiffs,

v.                                                        No. 1:23-cv-02946

                                                          Judge: Hon. Andrea R. Wood
STARBUCKS CORPORATION,

               Defendant.



                             AMENDED JOINT STATUS REPORT

       Pursuant to the Court’s Minute Entry dated February 27, 2025 (Dkt. No. 79), Plaintiffs

Bodum USA Inc. and Pi-Design AG (collectively, “Bodum”), and Defendant Starbucks

Corporation (“Starbucks”) (collectively, the “Parties”), filed a Joint Status Report with the date for

the deposition of former Starbucks CEO Howard Schultz and a proposed briefing schedule for

Starbucks forthcoming Motion for Summary Judgment.

       Mr. Schultz’s schedule required the parties to reschedule his deposition. This Amended

Joint Status Report includes the new date for Mr. Schultz’s deposition and a revised proposed

briefing schedule for Starbucks Motion for Summary Judgment.

A.     Scheduling of Final Deposition

       On September 27, 2024, the Parties completed briefing on Starbucks Motion for Protective

Order with respect to Bodum’s subpoena for the deposition of former Starbucks CEO Howard

Schultz (Dkt. Nos. 58, 63, 66). During the Parties’ status conferences in January and February

2025, the Court stated that it anticipated denying the Motion for Protective Order but ordering

limitations on the deposition of Mr. Schultz. The Parties respectfully request the Court’s written


                                                  1
order and guidance regarding the aforementioned limitations so as to be able to proceed with the

deposition of Mr. Schultz.

         The Parties tentatively agree to hold a virtual deposition of Mr. Schultz on April 17, 2025,

starting at 11:30 a.m. PDT, pending receipt of the Court’s order on Starbucks Motion for Protective

Order.

B.       Proposed Schedule for Briefing of Dispositive Motions

         As stated during the status conference on February 27, 2025, Starbucks anticipates filing a

dispositive motion on (i) liability with respect to Bodum’s breach of contract claim, and (ii)

Starbucks counterclaim for declaratory judgment. Bodum does not plan to file any dispositive

motions on liability.

         The Parties propose the following briefing schedule for Starbucks dispositive motion:

             •   May 9, 2025 – Starbucks Opening Brief (memorandum of law no more than 35 pages)

             •   June 6, 2025 – Bodum’s Opposition Brief (memorandum of law no more than 35 pages)

             •   June 27, 2025 – Starbucks Reply Brief (memorandum of law no more than 20 pages)

C.       Telephonic Status Hearing

         The Parties do not require a telephonic status hearing.




                                                  2
DATED: March 17, 2025

Respectfully Submitted,


 BODUM USA, INC.                             STARBUCKS CORPORATION
 PI-DESIGN AG

  By:   /s/ James Griffith                   By:   /s/ Brian J. Smith
                One of Their Attorneys                       One of Its Attorneys

 Ashley Pendleton (6328690)                  Brian Joseph Smith
 James E. Griffith (6269854)                 K&L Gates, LLP
 Ziliak Law LLC                              70 W. Madison Street
 141 W. Jackson Blvd., Ste 4048              Chicago, IL 60602
 Chicago, IL 60604                           (312) 807-4202
 Tel: 312.462.3350                           brian.j.smith@klgates.com
 apendleton@ziliak.com
 jgriffith@ziliak.com                        Pallavi Mehta Wahi
 docket@ziliak.com                           Kari L. Vander Stoep
                                             Ashley E.M. Gammell
                                             K&L Gates LLP
 Nicole Wing                                 925 Fourth Avenue, Suite 2900
 BODUM USA, Inc.                             Ste 2900
 General Counsel                             Seattle, WA 98104
  45 E. 20th Street                          206-370-8095
 8th Floor                                   pallavi.wahi@klgates.com
 New York, NY 10003                          kari.vanderstoep@klgates.com
 Tel: 212.367.8844                           ashley.gammell@klgates.com
 nicole.wing@bodum.com




                                         3
